Case 2:20-cv-06252-SRC-CLW Document 53 Filed 10/20/21 Page 1 of 2 PageID: 1166

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                                              October 20, 2021

 VIA ECF

 Hon. Cathy L. Waldor, U.S.M.J.
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

 Re:    Sun Chemical Corporation v. American Home Assurance Company, et al.
        Civil Action No. 2:20-cv-6252 (SRC-CLW)

 Dear Judge Waldor:

         We write to you jointly on behalf of Plaintiff, Sun Chemical Corporation (“Sun
 Chemical”), and Defendants, American Home Assurance Company and National Union Fire
 Insurance Company of Pittsburgh, Pa. (in its own right and as successor-in-interest to Landmark
 Insurance Company) (“Defendants”), to request a three-month adjournment of the discovery and
 pretrial deadlines set forth in the First Amended Pretrial Scheduling Order. This request is by
 consent of all parties following a meet-and-confer that took place on October 11, 2021.

         At this time, the parties have discussed a mutual exchange of documents and rolling
 productions to take place over the next several weeks. In that regard, the attached proposed Second
 Amended Pretrial Scheduling Order includes, in paragraph 6, a November 8, 2021 deadline for the
 parties to serve their initial document productions. The parties plan to continue taking part in
 additional meet-and-confers to discuss ESI issues in connection with the parties’ document
 exchange, as well as various written discovery disputes that have arisen. However, in light of the
 fact that the parties have not yet exchanged or reviewed each other’s productions, the parties
 respectfully request that the following dates be modified as set forth below:

        Paragraph 1: Fact Discovery Deadline: Currently January 31, 2022 to May 2, 2022
        Paragraph 2: Motion to Add New Parties: Currently November 15, 2021 to February 15,
        2022
        Paragraph 3: Motion to Amend Pleadings: Currently November 15, 2021 to February15,
        2022




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Case 2:20-cv-06252-SRC-CLW Document 53 Filed 10/20/21 Page 2 of 2 PageID: 1167
 Norris McLaughlin, P.A.

 Hon. Cathy L. Waldor, U.S.M.J.
 October 20, 2021
 Page 2

        The parties also respectfully request that the discovery deadlines for expert reports and
 depositions similarly be extended by three months. More specifically, the parties respectfully
 request that the following dates be modified as set forth below:
        Paragraph 11: Expert Reports.
                a)     Plaintiff’s expert reports shall be served no later than: Currently March 1,
                2022 to June 1, 2022
                b)     Defendants’ expert reports, including responsive expert reports, shall be
                served no later than: Currently May 2, 2022 to August 2, 2022
                c)     Plaintiff’s responsive and rebuttal expert reports shall be served no later
                than: Currently July 1, 2022 to October 3, 2022
                d)    Defendants’ rebuttal expert reports shall be served no later than: Currently
                August 1, 2022 to November 1, 2022
                e)     Expert depositions shall be completed no later than: Currently September
                15, 2022 to December 15, 2022
 A proposed Second Amended Pretrial Scheduling Order is attached for Your Honor’s
 consideration.

         We and counsel for Defendants intend to work diligently to comply with these
 deadlines. However, in the absence of an exchange and review of document productions, it is
 difficult to accurately estimate the amount of time that will be needed to complete discovery. As
 noted above, the parties’ rolling document productions are expected to begin on November 8,
 2021, after which the parties will be in a position to more accurately assess the length of time they
 will need/propose to complete discovery. In the event further extensions are needed, we will
 advise the Court in advance of our next case management conference scheduled for January 20,
 2022 at 10:00 A.M.

        We respectfully request that the Court sign the enclosed amended scheduling order.

                                               Respectfully submitted,



                                               Martha N. Donovan

 cc:    All counsel of record via ECF
